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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                 FT. WORTH DIVISION


 ROBERT (BOB) ROSS                                   §
 Plaintiff,                                          §
                                                     §
                                                     §
                                                     §
                                                     §
                                                     §        Case No. 4:22-CV-00343
                                                     §
 V.                                                  §
                                                     §
 ASSOCIATION OF PROFESSIONAL                         §
 FLIGHT ATTENDANTS,                                  §
 MCGAUGHEY, REBER AND                                §
 ASSOCIATES, INC., JULIE                             §
 HEDRICK,ERIK HARRIS, LARRY                          §
 SALAS, JOSH BLACK, IMA                              §
 FINANCIAL GROUP, INC.
 Defendant.

                       PLAINTIFF’S THIRD AMENDED COMPLAINT


        NOW COMES ROBERT (BOB) ROSS, Plaintiff, in the above-entitled and numbered

cause, and files this Plaintiff’s Original Complaint, and shows the Court:

                                                         I.

                                          INTRODUCTION

        1.      This action seeks redress for unlawful debt collection practices of the Fair Debt

Collection Practices Act 15 U.S.C. §§1692 d, e, and f et seq {hereinafter "FDCPA"), violations for

the Fair Credit Reporting Act 15 U.S.C. 1681s-2 (a)(1)(A) and (B) (hereinafter “FCRA”), and the

Labor Management Reporting and Disclosure Act (“LMRDA”), 29 U.S.C. §412, Breach of Union

Constitution, and damages resulting from various torts brought under state law including breach




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of fiduciary duty, intentional interference with a contract, defamation, and intentional infliction of

emotional distress.

        2.      In 2016, Plaintiff was elected APFA National President, shortly after American

Airlines and US Airways merged. Out of this merger grew the notion and political debates over a

merger between the two flight attendants’ labor unions with the Association of Flight Attendants-

Communication Workers of America (“AFA”) on one side—the union that represented US Airways

flight attendants among others—and the Association of Professional Flight Attendants on the other

side—a labor union that exclusively represents American Airlines flight attendants. A power struggle

ensued between those that supported a merger of the two unions—AFA and APFA (“AFA/APFA”)—

and those that opposed a merger between AFA and APFA. Supporters of the AFA/APFA merger

have now infiltrated APFA with the intent to take over and achieve a merger of the two unions. The

result has been the use of APFA’s Disciplinary Procedures to victimize any union member that is

outspoken against a merger between AFA and APFA. Violations of APFA members’ rights have

ensued in pursuit of the AFA/APFA merger agenda under federal and Texas state law as well as

intentional tortious violations that resulted in damages to the Plaintiff and his family.

                                                     II.

                                               PARTIES


        3.      Plaintiff, Bob Ross (“Ross”) was employed with APFA in the state of Texas and a

                citizen of Texas during his employment. His current primary residence is in the State

                of California; however, all events pertinent to the claims contained herein occurred

                within the state of Texas. His primary residence is 4701 Hayloft Ct., El Dorado Hills,

                CA 95762.




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        4.      Defendant, McGaughey, Reber and Associates, Inc d/b/a Diversified Credit Systems

                (“Diversified”), is the assignee of a termination contract between Ross and the

                Association of Professional Flight Attendants (“Transition Agreement”).             Its

                registered agent for service of process is M S. McGaughey located at 2200 Jahan Trail,

                Longview, Texas 75604. This company is engaged in the collection of debts using

                the mail and the telephone.     Diversified is an entity whose principal purpose is the

                collection of any debts. The Defendant regularly attempts to collect consumer debt

                alleged to be due to another and are “debt collectors’ as defined by FDCPA, 15 U.S.C.

                § 1692(a)(6).

        5.      Defendant, Association of Professional Flight Attendants (“APFA”) is the original

                party to the Plaintiff’s Transition Agreement, which formed the basis of the original

                claim. This claim gave rise to this lawsuit and may be served by and through its

                current National President, Julie Hedrick at APFA headquarters at 1004 W. Euless

                Blvd, Euless, Texas 76040.

        6.      Defendant, Julie Hedrick, (“Hedrick”) is the National President of APFA and can be

                served at her place of employment at APFA headquarters 1004 W. Euless Blvd,

                Euless, Texas 76040 or at her place of residence 3231 Del Monte Court, Fairfield, CA

                94534.

        7.      Defendant, Erik Harris (“Harris”) is the National Treasurer of APFA and can be

                served at his place of employment at APFA headquarters 1004 W. Euless Blvd,

                Euless, Texas 76040.




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        8.      Defendant, Larry Salas (“Salas”) is the National Vice-President of APFA and can be

                served at his place of employment at APFA headquarters 1004 W. Euless Blvd,

                Euless, Texas 76040 or anywhere else he may be found.

        9.      Defendant, Josh Black (“Black”) is National Secretary of APFA and can be served at

                his place of employment at APFA headquarters 1004 W. Euless Blvd, Euless, Texas

                76040 or anywhere else he may be found.

        10.     IMA Financial Group, Inc. issued and holds a surety bond for all APFA National

                Officers. It’s Registered Agent for Service of Process is InCorp Services, Inc. located

                at 815 Brazos St., Ste 500, Austin, Texas 78701.

                                                     III.

                                  JURISDICTION AND VENUE

        11.     Plaintiff files this Third Amended Complaint in the Northern District Federal Court -

                Fort Worth Division based on Federal Question between the Parties in this suit.

        12.     Plaintiff brings claims under jurisdiction of this action which is conferred on this

                court by virtue of the Fair Credit Reporting Act 15 U.S.C. 1681s-2 (a)(1)(A) and

                (B), Fair Debt Collection Practices Act 15 U.S.C. §§1692 d, e, and f, and the Labor

                Management Reporting and Disclosure Act, 29 U.S.C. §412, and Breach of a Union

                Constitution.

        13.     The amount in controversy exceeds $75,000; the Defendants conduct business in

                Texas, while the Plaintiff is a former citizen of Texas at the time, all facts that gave

                rise to the claims contained herein, occurred in the State of Texas.

                                                     IV.

                                   CONDITIONS PRECEDENT



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         14.    All conditions precedent to Plaintiff’s recovery against Defendants have been fully

                performed, have occurred, or have been waived or excused.

                                                     V.

                                    FACTUAL BACKGROUND

A.       Bob Ross was elected by the Membership in April of 2016 to serve as President of the
         Association of Professional Flight Attendants’ Union.

         15.    Ross was elected shortly after American Airlines and US Airways merged. This

created a power struggle between the labor unions for the Flight Attendants. A power struggle ensued

between those APFA members that supported a merger of the two unions (“AFA/APFA”), and those

that opposed an AFA/APFA-merger.           The result is AFA/APFA supporters infiltrating APFA

leadership roles, and their subsequent use of APFA’s Disciplinary Procedures as a method of

victimizing Plaintiff, and others that opposed such a merger.

         16.    At the APFA Annual Conference on February 28, 2018 - March 3, 2018, APFA BOD

encouraged Ross to step down from his role as many endured a lot of questions from AFA/APFA

members about the Chinery-Burns’s petition and campaign for Ross’s resignation. Fear that any of

these Board members would be the next target led many to support Ross’s resignation.

     B. Ross negotiated, signed a transition agreement, and reluctantly surrendered his
        Presidential position, but was subsequently voted back on by the APFA BOD in April
        of 2021.

         17.    Ross conceded his position as President of APFA after negotiating on the following

conditions:

        Ross would be paid outside of APFA policy—which provides that unused Sick and Vacation
         Days may be paid to officers according to a Per Diem Calculation of Annual Salary divided
         by 365.
        Ross would be paid all accrued unused vacation time—rather than be limited to only the 14
         days provided for under APFA policy;
        Ross would be paid all unused accrued sick time—rather than be limited to only the 12 days
         provided for under the APFA policy;

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         Ross would be “made whole” upon stepping down and lose no stipends, no income he would
          have received otherwise had he remained in office;
         Ross would no longer be a target for undue harassment and open hostility by any of the
          APFA/AFA members through a binding non-disparagement clause;
         Ross would be entitled to his privacy under the terms of the Transition Agreement with a
          Confidentiality clause; and
         Ross would be entitled to moving expenses back to California in the amount of $10,000.

Ross’s transition agreement, encapsulating these conditions, was drafted, and signed on March 1,

2018 (“Transition Agreement”). A true and correct copy of the Transition Agreement is attached

hereto and incorporated herein for all purposes and marked as Exhibit A (See Transition Agreement,

Ex. A).

          18.    In 2021, Ross was duly elected to APFA’s BOD where he, again, stood as a voice

against the AFA/APFA merger. This was a threat to the AFA/APFA members who crept deeper into

key roles within APFA’s organizational structure—eventually leading to the election of APFA’s

National officers: National President, Julie Hedrick; National Vice-President, Larry Salas, National

Treasurer, Erik Harris, and as the National Secretary, Josh Black.

          19.    On or about March of 2019, AFA/APFA members Chinery-Burns and Sandra Lee

(“Lee”) launched an investigation into Ross, the officers that served with him, and his supporters.

With the assistance of Harris, the APFA National Treasurer, and all other National Officers, Chinery-

Burns and Lee began to scour all financial records from his presidency in search of any impropriety.

The APFA National Officers granted Chinery-Burns and Lee access to Ross’s confidential Transition

Agreement, including financial documents that disclosed his personally identifiable information.

Thereafter, Chinery-Burns and Lee filed additional charges against Ross and those within his

administration. Again, these APFA elected officials could either fight the charges in arbitration or

retire their career from American Airlines as flight attendants—a bold and blatant attempt to take over

key APFA leadership positions.


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    C. In November of 2020, Erik Harris, APFA’s National Treasurer, sent a demand for an
       alleged debt Ross owed for $5,436.37.

        20.     On November 24, 2020, Harris wrote a letter to Ross demanding payment for a debt

he allegedly owed to APFA (“Overpayment-of-Wages Letter”). A true and correct copy of the

Overpayment-of-Wages Letter is attached hereto as Exhibit B.         The following alleged factual

assertions were made in the Overpayment-of-Wages Letter by Mr. Harris:

                     i. The APFA BOD had met and declared in a finding that Ross was overpaid in
                        the amount of $5,436.47 under his Transition Agreement in 2018 (See
                        Overpayment-of-Wages Letter, Ex. B).

                    ii. The APFA BOD’s findings were based on a review from an independent
                        accounting firm (See Overpayment-of-Wages Letter, Ex. B).

                   iii. This independent accounting firm “determined that the formula used to
                        determine the daily rate for [Ross’s] sick and vacation payout was incorrect”
                        (See Overpayment-of-Wages Letter, Ex. B).

        Every single factual assertion outlined above is false.

        21.     Harris included and referenced scheduled attachments to the Overpayment-of-Wages

Letter marked as A, B and C (See Overpayment-of-Wages Letter, Ex. B). (“Schedules”). The attached

Schedules outline the following:

                       i. Schedule A: the calculation of Ross’s Per Diem calculation per the APFA
                          Policy—annual salary divided by 365;

                      ii. Schedule B: an outline of payments made in 2018 for unused Vacation and
                          Sick Days in accordance with the Transition Agreement; and

                     iii. Schedule C: a final spreadsheet asserted that the amount Ross was paid and
                          then subtracted the APFA-Policy Per Diem multiplied by the correct APFA-
                          Policy capped twelve (12) Sick Days per year and the maximum amount of
                          his unused Vacation Days (See Overpayment-of-Wages Letter, Ex. B.)

        22.     The per diem calculation used for Ross’s original 2018 payout included his normal

monthly stipends paid to all APFA officers for their Meal Expense Allowance (“MEA”) and Special

Assignment Fee (“SAF”) and Maintaining an Office Outside Residence—a stipend often included

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when one takes vacation and sick leave. The difference between the two per diem calculations resulted

in an alleged overpayment of $5,436.37 (See Confidential Memo, Ex. C). This letter fails to explain

why no offset is given for his additional unpaid Sick Days.

        Nothing in the Overpayment-of-Wages Letter indicates these Schedules were the product of

an audit or a formal review by an independent accounting firm (See Overpayment-of-Wages Letter,

Ex. B). Ross was never given any independent accounting firm’s name or information to verify these

calculations or any other information to validate these schedules, despite asking for a copy of the full

report in the conversation Ross and Harris had, as referenced in this letter. By the middle of February

2021, he discovered the debt had been sold to Diversified Credit System (“Diversified”), after which

Diversified filed suit against Ross to collect the debt.

        D. On January 14, 2022, Diversified Credit Systems filed suit against Ross for the same
           debt Lee and Chinery-Burns already filed Article VII charges to collect—except
           Diversified’s Petition included a letter from the APFA’s accounting firm stating its
           opinion that Ross was paid correctly and does not owe this debt.

        23.     After the APFA Article VII Arbitration concluded, Diversified filed suit against Ross

for breach of contract to collect the same $5,436.47 debt Chinery-Burns and Lee pursued in

arbitration. Upon review of the petition, Ross realized that the four APFA National Officers, Julie

Hedrick, Erik Harris, Larry Salas, and Josh Black (“National Officers”) and others in the current

APFA Administration withheld documents prior to and during the APFA Article VII Arbitration that

would have exonerated him.

        24.     More specifically, Diversified Credit Systems included in its original petition a letter

from Wood, Stephens & O’Neil, L.L.P., an accounting firm for Defendants that accompanied the

graphs cited as evidence of Ross’s debt (“Confidential Memo”). This letter describes that APFA

retained Woods, Stephens & O’Neil, L.L.P. to conduct an informal review of Bob Ross’s confidential

Transition Agreement attached hereto and marked as Exhibit C. (See Confidential Memo, Ex. C.)

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The Confidential Memorandum from the APFA Accounting Firm outlines the following pertinent

facts:

                i. That APFA officers, the APFA staff attorney, and APFA’s outside counsel requested
                   an informal review of Bob Ross’s confidential Transition Agreement.

               ii. That these officers and attorneys requested the preparation of an overpayment
                   schedule of accrued and unused Sick and Vacation-Day payments made to Bob Ross
                   in 2018—similar to the overpayment schedules previously prepared for three other
                   officers. These overpayment schedules used the APFA Policy to calculate the per
                   diem rate of pay for each officer and capped payout for Vacation and Sick Days
                   according to APFA Policy.

               iii. The most important aspect of the letter states “Please note the Bob Ross
                  confidential transition agreement states that he will be paid all of his
                  accrued and unused sick, and accrued and unused vacation time. This
                  agreement doesn’t [sic] specify that the payments be made in accordance
                  with the policy manual guidelines. Consequently, these payments appear
                  appropriate and in compliance with the transition agreement.”

               iv. Ross was granted moving expenses up to $10,000 for which he did not use all of
                   these funds.” (See Confidential Memo, Ex. C.)

         25.     This Confidential Memorandum directly contradicts the facts laid out by Harris in the

Overpayment-of-Wages Letter to Ross—the accounting firm did not determine that the

formula used to pay Ross’s sick and vacation days was incorrect. In fact, the Confidential

Memorandum confirms that Ross was paid correctly under the Transition Agreement since he was to

be paid outside of APFA policy. This Confidential Memorandum names those that made the request

and those that received notice of this letter: the APFA officers, and in-house and outside counsel. (See

Confidential Memo, Ex. C.)

         26.     Furthermore, Diversified sent Ross a verification-of-debt letter that included the

Overpayment-of-Wages Letter (“VOD letter”). The Confidential Memorandum directly contradicts

the language of the VOD letter. (See Overpayment-of-Wages Letter, Ex. B).




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        27.     Requesting an accounting firm create Schedules that misrepresent the characterization

of payments made to Ross is an attempt to acquire seemingly valid documents that the union officers

could otherwise use to implicate Ross in over-payments to himself upon leaving office. The

concealment of the Confidential Memo from the APFA Board of Directors (“APFA BOD”) and the

APFA Executive Committee (“APFA EC) upon review or determination that a debt is owed is an

intentional act against the interest of Plaintiff, Ross. APFA National Officers and their attorneys

concealed this letter and used only the Schedules, cited the accounting firm’s “review” as though it

were an audit. These officers misrepresented that the accounting firm found that Ross was overpaid.

As a direct result of these misrepresentations the APFA National Officers acted in breach of their

fiduciary duty, disparaged, harassed, and charged Ross under the APFA Article VII Constitution to

pursue unfounded damages. The APFA National Officers submitted the Schedules to the APFA

BOD, and the APFA EC to mar his reputation with APFA membership. The APFA General Counsel,

Margot Nikitas, (copied on both of these letters) was present at the December 1, 2020 EC meeting

where Ross’s Article VII charges were reviewed, as well as every day of Ross’s Arbitration

proceedings—yet she never raised the accounting firm’s true findings to the Arbitrator, the APFA

BOD, or the APFA EC.

        28.     The Overpayment-of-Wages Letter further misrepresented that the APFA BOD found

that Ross was overpaid by $5,436.47 in 2018—a fact later relied on by the Arbitrator to rule against

Ross and fine him $27,631.60 in damages (See Martin Aff., Ex. D). Nena Martin (“Martin”), an APFA

Board member during 2011 and 2021, was present at both the APFA BOD meeting on October 27

and 28 of 2020, which addressed many of the issues related to Ross’s charges, and the APFA EC

meeting on December 1, 2020. (See Ex. D, Martin Aff.). Martin attests that she never participated in

or knew of any finding from the BOD that Ross owed the $5,436.47 debt or that his per diem rate was



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miscalculated based on these Schedules. (See Martin Aff., Ex. D). Moreover, the APFA BOD

showed no formal finding was ever recorded in any meeting minutes, resolutions, or actions by the

AFPA BOD during the Fall of 2020. The APFA BOD never discussed this account, reviewed this

Confidential Memorandum from the accounting firm, nor did the APFA BOD ever find that Ross was

overpaid. No formal vote was ever held, and no formal action by the APFA BOD was ever taken as

far as the record shows.

        29.     Nena Martin also attended the EC meeting on December 1, 2020 where Ross’s Article

VII charges were found timely, valid, and specific. Martin attests that neither the Confidential

Memorandum nor its contents were ever presented or disclosed to the EC prior to voting. (See Ex.

D, Martin Aff.). Martin only attests that the BOD and the EC were presented with spreadsheets,

similar to those attached to the Overpayment-of-Wages Letter and told that an accounting firm

prepared them as a result of a formal review and found Ross had been overpaid. (See Ex. D, Martin

Aff.). It can only be presumed that the APFA Officers and their counsel deliberately withheld the

information and misrepresented the facts to ensure that Ross and his supporters were removed from

the APFA leadership positions.

    E. APFA BOD and the APFA EC held that the charges brought against Ross for fraud and
       misappropriations were valid and referred the case to APFA’s internal Arbitration
       Proceedings per the APFA’s Constitution.

        30.     Once an Article VII charge is filed by a member, at the first regularly scheduled

meeting of the APFA Executive Committee (“APFA EC”), the EC reviews the charges for its

timeliness, specificity, and validity. If the charges are found to be timely, valid, and specific, the

charged party is then served notice and the matter proceeds to arbitration. The charged party escapes

a judgment by either winning at arbitration or if the charged member retires or resigns from American

Airlines while the charges are pending, then the charges are dismissed. It is not difficult to see how



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abuse of APFA’s Constitutional Article VII Disciplinary Procedures could thwart the democratic

process of an election and victimize the very members the union seeks to protect. APFA’s

Constitutional Article VII Disciplinary Procedures are launched to institute a culture of silence and

obedience, and has been used to eliminate any opposition to a merger between the two unions.

        31.     Unbeknownst to Plaintiff, Chinery-Burns and Lee filed Article VII charges against

Ross on November 18, 2020 for violations of misuse of his credit card, and overpayment under the

Transition Agreement among other complaints. These charges were based, in part, on payments made

under the Transition Agreement. The APFA EC held a meeting on December 1, 2020 and voted that

the charges were valid and timely before Ross ever received notice of the Article VII charges.

Arbitration Proceedings were initiated per Article VII without Ross ever receiving proper notice, an

opportunity to review any evidence, or an opportunity to be heard by the APFA BOD or the APFA

EC. Ross was left with only one of two choices: he could resign from AA under a cloud of suspicion

or proceed to arbitration in the hope he would win and restore his reputation—he chose the latter out

of fear that he would not be rehired elsewhere under suspicion of impropriety.

        32.     Discipline procedures conducted by the APFA, from start to finish, were fraught with

due process violations that ran the spectrum—from lack of proper notice that charges were filed to

unequal time for presentation of arguments to the exclusion of relevant and exculpatory evidence.

This arbitrator lacked authority to hear these charges. These charges were brought well beyond the

60-day limitations period required by the APFA Constitution. Ross also served subpoenas on the

APFA President, Julie Hendrick and the National Secretary, Josh Black—both refused to appear,

testify, or produce any documents.        Ross requested all documentation related to this alleged

overpayment-of-wages debt be produced including all financial documentation related to the Ross

Account in Collections with Diversified Credit. Lee, Chinery-Burns, and Harris served a large



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amount of documentation to Ross the day of trial in a disorganized mess, and yet no sanctions or

exclusion of those documents were ordered by the Arbitrator, as would be standard in any other

official judicial proceeding. Most notably, Harris, the APFA National Treasurer, failed to produce

any documents related to the debt demanded in the Overpayment-of-Wages Letter or any

documentation from the accounting firm cited in this letter.

        33.     The Arbitrator disallowed Ross from questioning Harris about his Transition

Agreement and payments made thereunder. Many of the charges brought against Ross pertained to

expenses charged to the union for a rental vehicle, meals and expenses related to union business,

furniture he purchased for an APFA apartment he used while splitting his time between Dallas-Fort

Worth and California. Yet the arbitrator failed to consider the evidence showing Ross reimbursed

APFA for this furniture. Speculation persisted about credit card receipts for small gift cards he bought

as a “thank you” to give the flight attendants that worked flights he took, or charges for in-flight

internet use on business-related flights. These were the types of charges brought into question three

to five years after the charges were incurred, authorized and approved. . APFA Constitutional limits

to bring charges are 60-day from the time “after the accuser becomes aware, or reasonably should

have become aware, of the alleged offense.” The procedure during 2016-2018 was to submit expenses

to the APFA Treasurer who reviewed and approved expenses as valid. The Treasurer during Ross’s

administration was Eugenio Vargas, who reviewed and approved all of Ross’s charges and expenses

during his term and never knew Ross to conduct any illegal or illicit charges to the union. (See Vargus

Aff. Ex. E).

        34.     The Arbitrator prevented Ross from admitting any evidence relating to Vargas’s

review and verification of his charges, payments and expenses that were paid per procedure. Ross

was also not allowed to question Harris over the calculations for his payout nor the review by the



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accounting firm, nor discuss the assignment of the Transition Agreement to Diversified. Thus, Ross

could not argue APFA’s lack of standing to collect an account assigned to a third party since the

Arbitrator took over questioning the witness. The Arbitrator even allowed Harris to testify as an

accountant. Harris did nothing to correct the record and clarify that he does not, in fact, hold any

certification as a public accountant. Chinery-Burns was given more than eight hours over two days

to present her case to the Arbitrator; Ross had less than three hours to present his defense and

witnesses—most ignored his subpoenas, and yet the Arbitrator made no effort to enforce these

subpoenas or even require attendance during an arbitration hearing where Ross’s reputation, career,

and property interests were at stake.

        35.     An arbitration award was issued on March 19, 2022, a true and correct copy of

the final Arbitration Award is attached hereto an incorporated herein and marked as Exhibit E

(“Ross Arbitration Award”). The Arbitrator relied on evidence presented by Chinery-Burns and

Lee that Ross was guilty of breach of fiduciary duty, misappropriation of funds, and fraud citing the

same misrepresentations reflected in Harris’s Overpayment-of-Wages Letter:

        “With respect to sick and vacation payout, the APFA Board of Directors has determined
        that Defendant Ross was overpaid in the amount of $5,436.47 in 2018 [and]. . . . [t]he
        Board’s finding was based on the results of a review from an independent accounting
        firm which determined that the formula used to determine the daily rate for your sick
        and vacation payout was incorrect. . . .[i]t is therefore arbitrator’s Opinion, Defendant
        Ross has failed and abused his Fiduciary Duty. The non-payment of these monies reveals
        Defendant Ross is not accepting this responsibility” (See Ross Arbitration Award, March
        19, 2022, Ex. E, 21-24).

        These are misrepresentations, and yet because Harris testified to them as factual, the Arbitrator

found it truthful without giving Ross the opportunity to show evidence to the contrary.

    F. APFA’s internal Arbitration resulted in a windfall award against Ross that held Ross
       liable for all charges Chinery-Burns brought against him, and Ross is now charged with
       over $27,631.60 in charges and fees by APFA for the cost of an unfair arbitration.




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        36.     Upon discovering the Confidential Memorandum, Ross’s union representative

appealed to the Arbitrator to reopen the arbitration and submit this evidence. The Arbitrator denied

this request—despite the document’s exculpatory nature, Harris’ concealment of it from the APFA

BOD and EC—who voted and deemed the Article VII charges valid—and APFA’s lack of disclosure

of this document and others during the Arbitration. The Arbitrator did not find the evidence pertinent

to any of the charges brought against Ross, then proceeded to find him guilty of fraud,

misappropriation of funds, and breach of a fiduciary duty, and rendered an arbitration award in favor

of Chinery-Burns and Lee for at least $52,340.79.

        37.     When the arbitrator rendered the award, the result was a windfall against Ross, for

which an entire day passed before he was ever served with the verdict. The arbitrator ignored any

evidence that Ross previously paid for the furniture charged on the company card. The arbitrator

further ignored any evidence that all charges were filed outside of the 60-day window required by the

Art. 7, Sec. 2(D)(1) of the APFA Constitution. This would mean that the charges were not timely

filed with the union, and thus Chinery-Burns and Lee were prohibited from filing their charges before

ever being heard by the Executive Committee.

                                                      IX.

                   CLAIM: LABOR MANAGEMENT REPORTING AND
                          DISCLOSURE ACT VIOLATIONS

        38.     Plaintiff incorporates all preceding paragraphs above.

        39.     Under 29 U.S.C. §411 states that “[a]ny person whose rights secured by the

                provisions of this title have been infringed by any violation of this title may bring

                a civil action in a district court of the United States for such relief (including

                injunctions) as may be appropriate. Any such action against a labor organization

                shall be brought in the district court of the United States for the district where the

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                alleged violation occurred, or where the principal office of such labor organization

                is located.” This act provides that no member of any labor organization may be

                fined in any way except for nonpayment of dues, unless notice, an opportunity to

                prepare a defense and a full and fair hearing is given to the person (29 U.S.C. §411

                (a)(5)).

        38.     Defendant, APFA, claimed that the APFA BOD found that Plaintiff, Ross, owed

                $5,436.37, in the Overpayment-of-Wages Letter, which is a violation of this section

                of the LMRDA §411(a)(5), as Plaintiff never received proper notice, due process

                or a full and fair hearing before being assessed with a fine or fee. There is no

                requirement for anyone not living within 150 miles of the arbitration site to comply

                with subpoenas, however most of the flight attendants live outside the state.

                Furthermore, restriction of documents and document discovery cannot be

                compelled by the charged-party, and thus restricting financial documents can

                become a basis for APFA to deny request for documents subject to Arbitration

                proceedings. It is a violation of LMRDA to not offer a full and fair hearing on the

                matter, and yet a charged party is not entitled to compel the evidence needed to

                absolve oneself. Further, it is a violation of LMRDA to conceal the full financial

                documents associated with the accounting firm’s review of Ross’s debt and conceal

                the letter from the APFA accounting firm finding Plaintiff was paid correctly under

                the terms of his Transition Agreement by Defendant, APFA.

                                                      X.

                           CLAIM: BREACH OF UNION CONSITUTION

        39.     Plaintiff incorporates all preceding paragraphs above.



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        40.     The APFA Constitution provides in Art. II §3 (C)-(D) provides that all members

                shall have the right to individual privacy, due process and equal representation.

        41.     Defendants, APFA, and the APFA National Officers violated Plaintiff’s, Ross’s,

                rights to privacy by publicizing and disparaging him regarding debts that he

                allegedly owed to the union and its members. Harris, the APFA National Treasurer,

                emailed APFA leadership, directors, and committee members about Plaintiff’s

                debt. These emails harassed him publicly over a debt in dispute. Further, social

                media posts to APFA membership were posted by various members as well as a

                hotline announcement that marred Plaintiff after the announcement of the

                arbitration award. He has endured humiliation and shame for conduct of which he

                was never guilty.

        42.     Defendants violated Plaintiff’s due process rights intentionally when it withheld

                evidence from the accounting firm and its formal opinion that Ross did not owe the

                debt under his Transition Agreement. APFA further violated due process by

                misrepresenting the facts to Plaintiff and the union BOD and EC to charge and

                collect monies and disparage Plaintiff.

        43.     Defendants violated Plaintiff’s due process rights in denying him access to

                documentation he requested in a subpoena as it never gave him a copy of the

                Confidential Memorandum.

        44.     Defendants denied Plaintiff proper notice as required prior to charging him with

                Article VII charges.

        45.     The APFA Constitution Art. VII, Sec. 2 provides that charges must be brought

                within 60-days after a member knows or should have known of the charges that are



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                filed. APFA denied Ross his due process rights by allowing his charges to move

                forward and finding them timely-filed despite evidence and testimony in the

                opening statement that these two members began investigations into Ross in 2019,

                well over 12 months prior to filing Article VII charges against him.

                                                  XI.

               CLAIM: VIOLATIONS OF FAIR CREDIT REPORTING ACT

        46.     Plaintiff incorporates all preceding paragraphs above.

        47.     Defendants, Diversified Credit and APFA, published to credit reporting agencies

                that Plaintiff was in collections on $5,436.47. Ross discovered this when he was

                refinancing his home and attempting to get a lower interest rate as well as taking

                out a loan to assist in funding his children’s college education. Ross disputed this

                credit reporting in writing. After researching the debt, Diversified responded with

                a verification of the debt, which included the demand letter from APFA National

                Treasurer, Harris. However, the Plaintiff’s original petition proves that Diversified

                had a copy of the Confidential Memorandum in its possession at the time and

                clearly did not conduct a thorough investigation of the debt as it continued to collect

                the debt. APFA was the original creditor of the debt and knowingly furnished

                inaccurate and false information to Diversified that Ross owed a debt under the

                Transition Agreement despite having been informed by the accounting firm that he

                did not owe this debt. APFA and Erik Harris acted intentionally and knowingly

                when it gave Diversified the incorrect address to prevent any initial contact letter

                from reaching Ross and giving him the opportunity to dispute the debt to prevent

                any credit reporting. Harris was aware that this would mar Ross’s credit report at a

                time when his two children were applying for college and subsequent financial aid.
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                Therefore, APFA, and its officers owe Ross for furnishing this information to

                Diversified for violations under the Fair Credit Reporting Act.

        48.     The Fair Credit Reporting Act 15 U.S.C. 1681s-2 (a)(1)(A) and (B) creates a duty

                for all furnishers of information, like Diversified to Ross, that “A person shall not

                furnish any information relating to a consumer to any consumer reporting agency

                if the person knows or has reasonable cause to believe that the information is

                inaccurate.”    Clearly Diversified breached this duty in reporting even after

                receiving a dispute in writing from Ross. The failure to investigate after his

                complaint and therefore, reporting information it should have known was

                inaccurate resulted in substantial refinance damages of $400,000, plus the

                associated costs and attorney’s fees.

                                                      XII.

          CLAIM: BREACH OF CONTRACT/EMPLOYMENT CONTRACT


        49.     Plaintiff incorporates all preceding paragraphs above.

        50.     Plaintiff, Ross, provided valuable services to Defendant, APFA, by working as

                a National President for Defendant. A Transition Agreement was drafted by

                APFA counsel and signed by all APFA BOD as well as Defendant, Ross on

                March 1, 2018 creating a valid and binding contract (“Transition

                Agreement”).

        51.     Plaintiff provided these services as a National President for Defendant.

        52.     Defendant accepted these services.




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        53.     Defendant failed to maintain its obligations of confidentiality under the

                Transition Agreement when it revealed the terms of the transition agreement

                to Chinery-Burns and Lee, as well as others in the APFA membership.

        54.     Defendant failed to maintain its obligation of non-disparagement under the

                Transition Agreement when it allowed Hedrick, Harris, and Chinery-Burns

                to continually publish false and disparaging comments about Plaintiff,

                causing reputational and emotional damages to him and his family.

        55.     Defendant failed to pay the full amount due and owing under the Transition

                Agreement as the calculations per the Confidential Memorandum provided

                to the APFA BOD clearly exhibits the opinion of APFA’s own accountant

                that the calculation of the per diem rate and payments were accurate.

        56.     Defendant suffered damages to his career and future income-based on the

                reputational harm suffered in violation of the nondisparagement clause under his

                Transition Agreement.

        57.     Defendant failed to pay Plaintiff for all of his Sick Days under the Transition

                Agreement, at the per diem rate including MEA/SAF stipends as intended in

                the Transition Agreement, the costs and expenses he incurred for arbitration

                proceedings, his reimbursable expenses APFA failed to pay him for prior to his

                termination which amount to a total $97,378.19.

                                                      XIII.

          CLAIM: FAIR DEBT COLLECTION PRACTICES ACT VIOLATIONS

        58.     Plaintiff incorporates all preceding paragraphs above.




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        59.     Defendant, Diversified, violated 15 U.S.C. §§1692 d, e, and f of the Fair Debt

                Collection Practices Act (“FDCPA”), including misrepresentations on the amount,

                the nature, and harassing and/or disparaging comments to the debtor for the

                purposes of abuse.

        60.     Defendant, Diversified, never sent and Initial Contact Letter to Ross and violated

                the FDCPA in his rights to dispute the validity of the debt and prevent credit

                reporting. The damages resulted from unauthorized credit reporting and negative

                credit reporting and collections of the wrong amount at a time when Ross was

                refinancing his home and applying for loans for his children’s college education.

                Consequently, he has suffered extensive damages as a result including the

                additional interest for the loans on his children’s college, the denial of his home

                loan, which is over $500,000 loan, and he has been forced to bring his children

                home from college do to the inability to finance their college education because of

                the Arbitration Award and litigation. His family has suffered extensively as a result

                as these violations, damaged Ross’s career and future ability to earn income, but

                this hardship has now impacted his children’s future.

                                                  XIV.

          CLAIM: INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

        61.     Plaintiff incorporates all preceding paragraphs above.

        62.     The Defendants, APFA, Julie Hedrick, Larry Salas, Erik Harris and John Black

                acted intentionally or recklessly when both failed to correct the record, turn over

                the Confidential Memorandum and misrepresented to the Arbitrator, the BOD and

                EC that Ross owed a debt under the Transition Agreement, that Ross refused to pay



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                this debt, and that the accounting firm found in its review that Ross was paid

                properly under the Transition Agreement.

        63.     Defendants’ actions were extreme and outrageous in concealing the Confidential

                Memorandum or failing to correct the record when the facts reflected inaccuracies

                regarding the BOD findings.

        64.     Defendants’ action caused the Plaintiff extreme emotion distress for himself and

                his family. Ross has had multiple hospital stays, medical issues, family and marital

                issues, financial issues, and extreme emotional distress because of the on-going

                hardship on him and his family. His wife, and children have suffered as well,

                particularly because his wife also worked for American Airlines as a flight

                attendant for twenty-eight years, thus she too has suffered extreme emotional

                distress, panic attacks resulting from damage to her reputation within her social

                circle, not to mention their children have come home from college due to the cost

                of their education has become unbearable. All of which is due to the circumstances

                created by APFA.

                                                      XV.

              CLAIM: DEFAMATION, INTENTIONAL INTERFERENCE WITH A
                 CONTRACT, AND BREACH OF FIDUCIARY DUTY

        65.     Plaintiff incorporates all preceding paragraphs above.

        66.     Defendants, APFA National Officers owed Ross a fiduciary duty as a member in

                good standing within the union.

        67.     APFA further violated Plaintiff’s due process by misrepresenting facts to Plaintiff,

                to the union BOD, and the union EC all of whom voted to charge, approve a

                fraudulent arbitration award, collect monies not owed, and disparage Plaintiff.

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        68.     Defendant, APFA, violated Plaintiff’s due process rights through denial of

                documentation Plaintiff subpoenaed.       Defendant had a duty to disclose all

                documentation, but particularly that documentation that alleviated his liability of

                the charges. As a neutral party administering the proceedings, APFA had a duty to

                ensure the fairness of the arbitration process. APFA failed to disclose a copy of the

                Confidential Memorandum to Plaintiff, as well as others thereby breaching its

                fiduciary duty.

        69.     Defendants, APFA National Officers violated Plaintiff’s due process by concealing

                documents that exonerated Ross from the charges against him. The National

                Officers had a duty to ensure that the procedures were conducted in a fair and

                equitable manner, to ensure the integrity of the arbitration process, and they failed

                to uphold their duty and breached Ross’s right to fair proceedings.

        70.     Defendants, APFA, violated Plaintiff’s right to privacy when it disclosed his

                personal and protected information including his social security number to union

                members.

        71.     The National Officers further breached their fiduciary duty by making false

                statements of fact to a third-party regarding the alleged debt owed under the

                Transition Agreement, and Plaintiff Ross’s conduct while in office. Furthermore,

                the APFA BOD’s findings regarding the accounting firm’s conclusions about

                Plaintiff’s payments under the Transition Agreement misrepresented the truth. The

                National Officers conspired to create documents to implicate Ross, launch internal

                union charges against him that he had overpaid himself, and claim owed money to

                the union. The officers concealed the Confidential Memo to achieve a favorable



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                Arbitration Award, forced Ross to step down from the APFA BOD, and marred his

                reputation. This is a breach of the APFA National Officer’s fiduciary duty to Ross.

                The APFA National Officers had a duty to disclose this document and explain the

                results of the review, and that it was not the same as an audit as it did not carry the

                weight of the accounting firm’s binding opinion about overpayment of Ross’s

                wages.

        72.     Defendants acted with the intent to defame Plaintiff, injure his reputation, and

                remove him from his position within APFA leadership.

        73.     In so acting, the APFA National Officers have breached their fiduciary duty to

                Ross, a member of APFA in good standing.

        74.     The Transition Agreement is a valid contract, and Defendants knew it existed.

        75.     Defendants intentionally defamed and exposed Plaintiff’s Transition Agreement

                with APFA.

        76.     Consequently, Defendants caused substantial damages to Plaintiff.

        77.     Defendants did, in fact, defame, intentionally interfered with a contract, and

                breached their fiduciary duty to Ross as a member in good standing by causing

                damages, injuring his reputation and charging him.

        78.     IMA Financial Group, Inc. issued a surety bond to protect any third party injured

                because of the union officer’s individual fraudulent conduct. Currently, Plaintiff has

                sought to include and pursue all claims against the Bonding Company to ensure

                protecting the union.




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                                  CONCLUSION AND PRAYER


        WHEREFORE, PREMISES CONSIDERED, Defendant hereby prays as follows:

                    i. For injunctive relief for unlawful collection activity, labor practices and

                        defamation, and violations of the non-disclosure and non-disparagement

                        clause in Plaintiff’s Transition Agreement.

                    ii. That Plaintiff recover a judgment against Defendants, jointly and severally,

                        for monetary damages for $1,800,000 for violations.

                   iii. That Plaintiff recover a judgment against Defendants jointly and severally,

                        for punitive damages, cost of court and attorney’s fees; and

                   iv. Such other and further relief, at law or in equity, to which Defendant may

                        be justly entitled to receive.

                                                                Respectfully submitted,
                                                                K.D. PHILLIPS LAW FIRM, PLLC

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